                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF VIRGINIA
                                       ALEXANDRIA DIVISION
 UNITED STATES                                       JUDGE: MICHAEL S. NACHMANOFF
                                                     CASE NO.:  _
                                                     HEARING:              O
 vs.                                                 DATE:
                                                     TIME:                >
                                                     REPORTER: FTR'GOLD SYSTEM
 DEFENDANT(S)                                        CLERK: CHRISTINA MARQUEZ
 COUNSEL FOR UNITED STATES:                           yc^rAo
 COUNSEL FOR DEFENDANT:                             PWV                      >     H
 INTERPRETER:                                         ANGUAGE:
JX|I^FT. APPEARED ( ) THROUGH COUNSEL ( ) FAILED TO APPEAR ( ) WARRANT TO BE ISSUED
             5 ADVISEMENT                                 ) DEFT. ADMITS ( ) DENIES VIOLATION
-1} COURT TO APPOINT COUNSEL                              ) COURT FINDS DEFT. IN VIOLATION
 ;f>i'DEFT. TO RETAIN COUNSEL                             ) DEFT CONTINUED ON PROBATION
' t ) CONTACT PREVIOUS COUNSEL &REAPPOINT
 (     ) PRELIMINARY EXAMINATION WAIVED
 (     ) COURT FINDS PROBABLE CAUSE
J><;G0VT not SEEKING DETENTION
 { ) 1X5. REQUESTS DETENTION ( ) GRANTED ( ) DENIED
J><f6EFT PLACED ON PR BOND WITH CONDITIONS           ( )DEFT CONTINUED ON BOND
 (     )DEFT.(   ) REMANDED
 CONDITIONS OF RELEASE;
 ($          ) UNSECURED ($         ) SECURED ( ) PTS ( ) 3^ PARTY ( )TRAVEL RESTRICTED
 ( ) APPROVED RESIDENCE ( ) SATT ( ) PAY COSTS ( ) ELECTRONIC MONITORING
 ( ) MENTAL HEALTH TEST/TREAT ( )ROL( ) NOT DRIVE ( ) FIREARM ( ) PASSPORT
 ( ) AVOID CONTACT ( ) ALCOHOL & DRUG USE ( ) EMPLOYMENT
 MINUTES:
 (     ) GOVT ADDUCED EVIDENCE & RESTS (    ) EXHIBITS:
 (     ) DEFT ADDUCED EVIDENCE & RESTS (    ) EXHIBITS:
 ( ) GOVT. (     ) DEFT. ( ) JOINT MOTION TO CONTINUE (    ) GRANTED ( ) DENIED
 NEXT APPEARANCE:
                                            2X)                      AT                   AM (IRP
 ( ) DH3><jr^ ( ) STATUS ( ) TRIAL (     )J URY(   PLEA(.)SENT(      )PBV(     )SRV(   )VCR(   )R
 ( ) ARRAIGN ( ) IDENTITYi>^THER JUDGE              X7.-t>
 ( ) MATTER CONTINUED FOR FURTHER PROCEEDINGS BEFORE THE GRAND JURY
 ( ) RELEASE ORDERGIVEN TO USMS
